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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                 Plaintiff,
                                                     CIVIL ACTION NO. 1:21-cv-00631-MN
           v.

 MOBILE VIDEO SOLUTIONS, INC.,

                 Defendant.




       JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC and Defendant Mobile Video

Solutions, Inc., by their respective undersigned counsel, hereby STIPULATE and AGREE as

follows:

       1.       All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all claims asserted by the Defendant in this Action are dismissed without prejudice under Fed. R.

Civ. P. 41(a)(1)(A)(ii);

       2.       Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: July 13, 2021                           Respectfully Submitted,

                                               GAWTHROP GREENWOOD, PC

                                               /s/David W. deBruin
                                               David W. deBruin, Esq. (#4846)
                                               3711 Kennett Pike, Suite 100
                                               Wilmington, DE 19807
                                               Tel: (302) 777-5353
                                               ddebruin@gawthrop.com

                                               ATTORNEYS FOR PLAINTIFF

                                               FISH & RICHARDSON P.C.

                                               By: /s/Jeremy D. Anderson
                                               Jeremy D. Anderson (Bar No. 4515)
                                               222 Delaware Avenue, 17th Floor
                                               Wilmington, Delaware 19801
                                               (302) 652-5070 (Telephone)
                                               (302) 652-0607 (Facsimile)
                                               janderson@fr.com

                                               Neil J. McNabnay
                                               Ricardo J. Bonilla
                                               Michael A. Vincent
                                               1717 Main Street, Suite 5000
                                               Dallas, Texas 75201
                                               (214) 747-5070 (Telephone)
                                               (214) 747-2091 (Facsimile)
                                               macnabnay@fr.com; rbonilla@fr.com;
                                               vincent@fr.com

                                               COUNSEL FOR DEFENDANT
                                               MOBILE VIDEO SOLUTIONS, INC.




SO ORDERED this WKday of -XO\ 2021.


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